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                                                 16   L’ORÉAL USA, INC. AND L’ORÉAL S.A.
                                                 17                               UNITED STATES DISTRICT COURT
                                                 18                             NORTHERN DISTRICT OF CALIFORNIA
                                                 19                                   SAN FRANCISCO DIVISION

                                                 20                                                  )       Case No. C-07-1669 MMC
                                                      BARE ESCENTUALS BEAUTY, INC., a                )
                                                 21   Delaware corporation,                          )       STIPULATION TO DISMISSAL WITH
                                                                   Plaintiff,                        )       PREJUDICE IN SETTLEMENT AND
                                                 22                                                  )       [PROPOSED] ORDER
                                                            vs.                                      )
                                                 23                                                  )
                                                                                                     )
                                                 24   L’ORÉAL USA, INC., a Delaware                  )
                                                      corporation and L’ORÉAL S.A., a French         )
                                                 25   société anonyme,                               )
                                                                                                     )
                                                 26                                                  )
                                                                   Defendants.
                                                 27
                                                 28         Pursuant to Fed. R. Civ. P. 41(a), Plaintiff Bare Escentuals Beauty, Inc. and Defendants

                                                                                                         1
                                                      STIP. TO DISMISSAL WITH PREJUD. IN STLMNT & [PROPOSED] ORDER             Case No. C-07-1669 MMC
                                                          Case 3:07-cv-01669-MMC Document 129 Filed 04/07/09 Page 2 of 2



                                                  1   L’Oréal USA, Inc. and L’Oréal S.A. stipulate to voluntary dismissal of this action with prejudice

                                                  2   pursuant to the terms of the parties’ settlement agreement.
                                                  3          The parties further stipulate, and request that the Court order, that the Court retain

                                                  4   jurisdiction over the case for the purposes of enforcing, or adjudicating disputes arising from, the

                                                  5   parties’ settlement agreement.

                                                  6
                                                      Dated: March 23, 2009                         WINSTON & STRAWN LLP
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                                                  8
                                                                                                    By:        /s/
                                                  9                                                           Andrew P. Bridges
                                                                                                              Jennifer A. Golinveaux
                                                 10
                                                                                                              Attorneys for Plaintiff
                                                 11                                                           BARE ESCENTUALS BEAUTY,
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                                                                                                              INC.
                                                 12
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                                                 13
                                                      Dated: March 23, 2009                         PAUL, HASTINGS, JANOFSKY &
                                                 14                                                 WALKER LLP
                                                 15
                                                                                                    By:        /s/
                                                 16                                                           Robert L. Sherman
                                                                                                              Sara J. Crisafulli
                                                 17                                                           Mark E. McKeen
                                                 18                                                           Attorneys for Defendants
                                                                                                              L’ORÉAL USA, INC. AND
                                                 19
                                                                                                              L’ORÉAL
                                                 20
                                                             I attest that concurrence in the filing of this document has been obtained from Robert L.
                                                 21
                                                      Sherman, counsel for Defendant.
                                                 22

                                                 23   By: /s/ Jennifer A. Golinveaux
                                                             Jennifer A. Golinveaux
                                                 24
                                                 25          Attorney for Plaintiff
                                                             BARE ESCENTUALS BEAUTY, INC.
                                                 26                                    ORDER
                                                             IT IS SO ORDERED.
                                                 27          Dated: April 7, 2009                                       _________________________
                                                                                                                        Maxine M. Chesney
                                                 28
                                                                                                                        United States District Judge
                                                                                                          2
                                                       STIP. TO DISMISSAL WITH PREJUD. IN STLMNT & [PROPOSED] ORDER                    Case No. C-07-1669 MMC
